UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

LAZARO FERNANDEZ,
Plaintiff,

Vv. CIVIL ACTION NO.
19-10160-NMG

JONATHAN W. BLODGETT,
Defendant.

MEMORANDUM AND ORDER

 

GORTON, J. July 18, 2019

For the reasons stated below, the plaintiff is Ordered to
file an amended complaint by August 30, 2019.

I. Background

Plaintiff Lazaro Fernandez (“Fernandez”) was convicted by a
jury in the Massachusetts Superior Court of orally raping a
fourteen-year-old girl in violation of Mass. Gen. Laws ch. 265,

§23. Com. v. Fernandez, 83 Mass. App. Ct. 1107 (2013). His

 

conviction was affirmed by the Massachusetts Appeals Court. Id.
On March 4, 2013, further appellate review was denied by the

Supreme Judicial Court. Com. v. Fernandez, 464 Mass. 1107

 

(2013).
On November 25, 2013, Fernandez filed a pro se motion for a
new trial and for DNA testing in the Superior Court pursuant to
Mass. Gen. Laws. ch. 278A, §§1 - 18 (“Chapter 278A”).1 Fernandez
v. Ryan, No. CV 15-11116-RGS, 2015 WL 9703691, at *1, 4

(D. Mass. Dec. 15, 2015), report and recommendation adopted sub

 

nom. Fernandez v. Ryan, No. CV 15-11116-RGS, 2016 WL 183520 (D.
Mass. Jan. 14, 2016). The motion was denied on December 4,
2013. Id. According to the Massachusetts Appeals Court, “the
trial judge denied that motion based on his conclusion that
‘[t]he defendant has not shown, and the court cannot discern,
how DNA testing would have an impact on this case.’” Com. v.
Fernandez, 94 Mass. App. Ct. 1109 (2018). The denial was
affirmed by the Massachusetts Appeals Court which held “the
judge did not err because. .. [Fernandez]. . . failed to
include any of the information required by G.L. c. 278A, § 3(b)

in his motion for DNA testing.” Com. v. Fernandez, 86 Mass. App.

 

Ct. 1123 (2014) .?

 

tChapter 278A was enacted in 2012, and has been described by a
student commentator as a “model for other states.” Theodore
Tibbitts, Post-Conviction Access to DNA Testing: Why
Massachusetts's 278a Statute Should Be the Model for the Future,
36 B.C.Jd.L. & Soc. Just. 355, 384 (2016).

2 A motion under Chapter 278 must include the following
information:

 

 

(1) the name and a description of the requested forensic or
scientific analysis;
On March 23, 2015, Fernandez filed a petition for writ of

habeas corpus pursuant to 28 U.S.C. §2254 in this court.

Fernandez v. Ryan, Civ No. 1:15-cv-11116-RGS, Petition, ECF No.

 

1. In that petition, Fernandez claimed, among other things,

that

DNA testing was sought and denied erroneously. Id. The

 

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(2) information demonstrating that the requested analysis
is admissible as evidence in courts of the commonwealth;
(3) a description of the evidence or biological material
that the moving party seeks to have analyzed or tested,
including its location and chain of custody if known;

(4) information demonstrating that the analysis has the
potential to result in evidence that is material to the
moving party’s identification as the perpetrator of the
crime in the underlying case; and

(5) information demonstrating that the evidence or
biological material has not been subjected to the requested
analysis because:

(i) the requested analysis had not yet been developed
at the time of the conviction;

(ii) the results of the requested analysis were not
admissible in the courts of the commonwealth at the time of
the conviction;

(iii) the moving party and the moving party’s attorney
were not aware of and did not have reason to be aware of
the existence of the evidence or biological material at the
time of the underlying case and conviction;

(iv) the moving party’s attorney in the underlying
case was aware at the time of the conviction of the
existence of the evidence or biological material, the
results of the requested analysis were admissible as
evidence in courts of the commonwealth, a reasonably
effective attorney would have sought the analysis and
either the moving party’s attorney failed to seek the
analysis or the judge denied the request; or

(v) the evidence or biological material was otherwise
unavailable at the time of the conviction.

Gen. Laws ch. 278A, §$3(b).
Magistrate Judge recommended that the petition be denied as to
this ground because it was procedurally defaulted, without any
attempt by Fernandez to show cause or prejudice, or actual
innocence. Fernandez, 2015 WL 9703691 at *4. The Magistrate
Judge further recommended that the state trial judge’s denial of
Fernandez’ motion was not an unreasonable application of clearly
established federal law:

[T]he state trial judge's denial of Fernandez's
motion was not an unreasonable application of clearly
established federal law. In District Attorney's Office
for the Third Judicial District, 557 U.S. at 72, the
Supreme Court held that there is no substantive due
process right to DNA testing. Rather, a prisoner seeking
DNA analysis is entitled only to procedural due process
and bears the burden of demonstrating the inadequacy of
state-law procedures governing post-conviction relief.
Id. at 70. “Federal courts may upset a State's
postconviction relief procedures only if they are
fundamentally inadequate to vindicate the substantive

 

 

rights provided.” Id. at 69. In other words, Fernandez
has no right to DNA testing absent 1) a showing that
existing state procedures in c. 278A are

constitutionally inadequate or 2) presenting evidence
showing he is properly entitled to post-conviction
analysis under existing laws. Id. He has not attempted
to make either showing and therefore his motion fails on
both accounts.

Id. at *5. The Magistrate Judge also questioned whether, even
if the evidence were tested, how it would assist Fernandez:

It is not apparent what advantage Fernandez hopes
to gain through DNA testing. Although the victim claimed
Fernandez orally raped her, there was no saliva found
during a forensic examination of her underwear. (Tr. IX,
p. 122.) A chemist from the state crime lab testified to
this fact at trial and was cross-examined. There was,
however, semen discovered in her underwear. (Tr. IX, p.
121-123.) This was not disclosed to the jury pursuant to
“rape shield” statutes. Mass. Gen. Laws c. 233 § 21B.
Even if Fernandez were to gain access to DNA testing of
the sperm evidence found on the victim's underwear, it
is unclear how this would have positively affected the
outcome of his appeal. The victim never claimed
Fernandez vaginally penetrated her or even that he ever
exposed his penis to her. His conviction for rape of a
child was solely on the basis of oral rape. DNA analysis
of the sperm evidence would not disprove the victim's
allegations or prove his actual innocence.

Id. at *4 n.d.

Fernandez filed a second post-conviction motion for DNA
testing. Fernandez, 94 Mass. App. Ct. at 1109. “A different
Superior Court judge denied that motion, explaining in detail
why the motion failed to meet the statutory prerequisite of
showing that the requested testing had ‘the potential to result
in evidence that is material to the moving party's
identification as the perpetrator of the crime in the underlying
case.’” Id. The Massachusetts Appeals Court held:

We begin by examining whether the second DNA motion
raises issues not addressed by the first. With respect
to the DNA testing issues, there are two nominal
differences between the motions, which we address in
turn. The first such difference has to do with what
material the defendant was requesting be tested. The
first DNA motion specifically requested DNA testing of
the victim's underpants, while the second motion
referred more generally to “the rape kit obtained in the
underlying prosecution.” However, there is nothing in
the record to suggest that any rape kit as such ever was
collected, and the Commonwealth's counsel represents
that one was not. In his reply brief, the defendant makes
no assertion to the contrary. Rather, he simply tries to
recast his motion as one seeking “DNA testing of the
‘evidence’ whatever the evidence is or whatever the
biological material is called by counsel for [the
Commonwealth].” Because the only biological material
referenced in the record was the traces of sperm cells
found on the victim's underwear, the second DNA motion
in effect seeks DNA testing of the very same material as
the first.

The second nominal difference between the first DNA
motion and the second has to do with the type of DNA
testing that the defendant requested. The first DNA
motion requested “DNA testing” without further
specification. The second DNA motion = specifically
requested that “Y-STR DNA” testing be done, as opposed
to the CODIS testing that the defendant claimed
previously had been done and on which the motion claimed
the Commonwealth had “relied” at trial. However, as the
Commonwealth's brief points out, the Commonwealth did
not rely on any DNA testing at trial; indeed, apparently
no DNA testing of the victim's clothing ever was done. []
In any event, the arguments that the defendant now puts
forward in support of his second DNA motion do not turn
on the type of DNA testing at issue. Instead, the
defendant makes the same arguments he made in support of
his first DNA motion (namely, that DNA testing will show
that the victim was having sexual intercourse with a
third party and that this in turn will show that she is
lying or that she somehow had reason to fabricate her
claims against the defendant).

In sum, while there are nominal differences between
the first DNA motion and the second, those motions in
substance are the same. We already have ruled on the
issues the defendant seeks to raise, and the defendant
therefore is estopped from raising them again. See
Commonwealth v. Williams, 431 Mass. 71, 74-75 (2000).

Fernandez, 94 Mass. App. Ct. 1109.

On January 22, 2019, Fernandez filed a self-prepared
complaint in this action against Essex County District Attorney
Jonathan W. Blodgett (“Blodgett”) pursuant to 42 U.S.C. §1983,
seeking an injunction requiring the Commonwealth to:

allow DNA testing of the biology of the crime scene,
i.e., the victim's underwear, and that further, a
laboratory capable of using the new Y-STR DNA test

released in approximately 2012, possibly by Orchid-

Cellmark of Dallas, Texas, be selected to perform the

DNA testing sought by the plaintiff.

Compl. 11, ECF No. 1. Along with the complaint, Fernandez filed
a motion for leave to proceed in forma pauperis motion that did
not include the required prisoner account statement. Mot.
Proceed In Forma Pauperis, ECF No. 2.

On February 8, 2019, the Court denied the motion to proceed
in forma pauperis without prejudice, and Fernandez was ordered
to either pay the $400 filing fee or file a renewed motion with
a prisoner account statement. February 28, 2019 Order, ECF No.
4. On February 20, 2019, Fernandez paid the $400 filing fee.
ECF No. 5.

On April 29, 2019, Blodgett filed a Waiver of Reply
(“Waiver”) under 42 U.S.C. § 1997e(g) (1), ECF No. 9. On May 8,
2019, Fernandez filed an objection to the Waiver. Objection, ECF
No. 10.

II. Discussion

Blodgett’s Waiver invokes a procedural mechanism particular
to prisoner civil actions pursuant to 42 U.S.C. § 1997e(g) (1).
Specifically, that statute provides:

any defendant may waive the right to reply to any
action brought by a prisoner confined in any jail,

prison, or other correctional facility under [28 U.S.C.

§] 1983 . . . or any other Federal law. Notwithstanding
any other law or rule of procedure, such waiver shall
not constitute an admission of the allegations contained

in the complaint. No relief shall be granted to the

plaintiff unless a reply has been filed.
42 U.S.C. §1997e(g) (1). The Court may order Blodgett to “reply”
to the complaint if it finds that Fernandez “has a reasonable
opportunity to prevail on the merits.” 42 U.S.C. §1997e(g) (2).
The statute does not define this phrase, nor provide guidance as
to how to proceed. See Morgan v. Johnson, No. 1:17-CV-206, 2019

WL 1370124, at *6 (W.D. Mich. Feb. 26, 2019), report and

recommendation adopted, No. 1:17-CV-206, 2019 WL 1359288 (W.D.

 

Mich. Mar. 26, 2019) (citing Aaron v. Dyer, No. 15-CVv-11014, 2016
WL 1698399 at *1 (E.D. Mich. April 28, 2016)).

Blodgett waived his response to the complaint because he
argues that Fernandez’s claim is barred by Rooker-Feldman

doctrine. Waiver 2-3 (citing Tyler v. Supreme Judicial Court of

 

 

Massachusetts, 914 F.3d 47, 50 (lst Cir. 2019) (“The Rooker-
Feldman doctrine bars jurisdiction only in the limited
circumstances where the losing party in state court filed suit
in federal court after the state proceedings ended, complaining
of an injury caused by the state-court judgment and seeking
review and rejection of that judgment.”)). He argues that while
Fernandez states that he is attacking the statute, the
“gravamen” of the complaint is an attack on the decisions of the

Commonwealth courts. Waiver 3. Fernandez argues in his
complaint and opposition that Rooker-Feldman does not apply
because he is not challenging the Commonwealth courts’ decisions
denying him the post-conviction testing, but rather the statute
itself. Compl. 928, T9131; Objection 3. The Court takes
Blodgett’s point. For example, Fernandez provides much detail
with respect to the underlying crime and his theory of
innocence, but almost no detail with respect to his attack on
Chapter 278. See generally Compl. To be sure, Fernandez cannot
proceed under the theory that there is a freestanding
substantive Due Process right to post-conviction DNA testing
under the Fourteenth Amendment, as this was expressly foreclosed

by the Supreme Court in Attorney's Office for Third Judicial

 

Dist. v. Osborne, 557 U.S. 52, 72 (2009) (declining to “recognize
a freestanding right to DNA evidence untethered from the liberty
interests [a prisoner] hopes to vindicate with it” and
concluding there is “no such substantive due process right”).
Fernandez reliance on district court cases that predate the
Supreme Court’s ruling in Osborne, are not controlling.
Nevertheless, Fernandez’s complaint is not a document prepared
by a lawyer and, read generously, appears to at least attempt to
assert, among other things, an underdeveloped procedural due
process challenge to Chapter 278A. Compl. 49128, 30 (citing

Skinner v. Switzer, 562 U.S. 521 (2011)); Osborne, 557 U.S. 52,
71 (2009); see Fed. R. Civ. P. 8(e) (“Pleadings must be
construed so as to do justice”). As the Supreme Court has held,
Rooker-Feldman doctrine does not bar a procedural Due Process
claim with respect to post-conviction DNA testing statutes, such
as Chapter 278A. Skinner, 562 U.S. at 532.

Even under a theory of procedural Due Process, Fernandez’s
avenue for relief is narrow. Skinner, 562 U.S. at 525 (“We
note, however, that the Court's decision in Osborne severely
limits the federal action a state prisoner may bring for DNA
testing. Osborne rejected the extension of substantive due
process to this area .. . and left slim room for the prisoner
to show that the governing state law denies him procedural due
process.”). Although the First Circuit has not considered the
issue, the Court is persuaded that under a procedural Due
Process theory, Fernandez might only facially challenge Chapter
278A (if there are facts supporting such a challenge), but may
not challenge the application of that statute by the
Commonwealth’s courts (a so-called “as-applied” challenge)
because Rooker-Feldman doctrine bars such claims. See e.g.,

McKithen v. Brown, 626 F.3d 143, 154-55 (2d Cir. 2010); Spuck v.

 

Pennsylvania, 456 Fed. App'x 72, 73 (3d Cir. 2012); In re Smith,
349 Fed. App’x. 12, 15 (6th Cir.2009) Cooper v. Ramos, 704 F.3d

772, 780 (9th Cir. 2012); Alvarez v. Attorney Gen. for Fla., 679

 

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F.3d 1257, 1263 (llth Cir. 2012). Rather, Fernandez’s challenge
may only proceed if he can plausibly allege factual allegations
demonstrating that the Commonwealth’s “postconviction relief
procedures. . . are fundamentally inadequate to vindicate the
substantive rights provided,” presuming without deciding such
rights exist under Chapter 278A. Osborne, 557 U.S. at 69.

Here, Fernandez’s procedural Due Process claim are cabined
to a few largely conclusory paragraphs that include anticipatory
legal argument. For example, Fernandez alleges:

The Rooker-Feldman doctrine does not bar this suit
because Lazaro Fernandez is not challenging the state
court decision itself. . . .[P]ursuant to Federal Rule
of Civil Procedure 8(a)(2), Lazaro Fernandez is only
required to present a plausible “short and plain”
statement of his claim, not an exposition of his legal
argument. And, Lazaro Fernandez has presented his
argument supra that he has twice been denied access to
the crime-scene biology for the purpose of DNA testing
to prove he is actually innocent of the crime for which
he has been convicted in state court. And, just as
Skinner’s counsel did not challenge the prosecution’s
conduct or the court decisions, so to, Lazaro Fernandez
likewise challenges only Massachusetts’ post-conviction
DNA statute “as construed” by the Massachusetts courts.

Compl. 41 28, 30. While Fernandez is correct that Rule 8 (a)
requires only “a short and plain statement of the claim showing
that the pleader is entitled to relief,” Fed. R. Civ. P.

8(a) (2), as pleaded his complaint fails to “‘give the defendant
fair notice of . . . the grounds upon which [the claim] rests,’”

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)

 

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(quoting Conley v. Gibson, 355 U.S. 41, 47 (1957). To meet the
basic pleading requirements of the Federal Rules of Civil

Procedure, a “complaint should at least set forth minimal facts
as to who did what to whom, when, where, and why...” Educadores

Puertorriquenos en Accion v. Hernandez, 367 F.3d 61, 68 (lst

 

 

Cir. 2004). Although “the requirements of Rule 8(a) (2) are
minimal . . .[,] ‘minimal requirements are not tantamount to
nonexistent requirements.’” Id. (quoting Gooley v. Mobil Oil
Corp., 851 F.2d 513, 514 (ist Cir. 1988)). The Court rules that

the complaint needs enhancement to clarify any facial procedural
Due Process challenge.

Accordingly, Fernandez will be provided an opportunity to
amend his complaint to clarify the narrow procedural facial Due
Process claim that he appears to be asserting under Osborne and
Skinner. The amended complaint shall set forth, in separately

numbered paragraphs, plausible claims upon which relief may be

granted. See Fed. R. Civ. P. 8 & 10. The amended complaint -- a
stand-alone document, not a supplement -- will replace the
original complaint. In preparing the amended complaint,

Fernandez should set forth at least minimal plausible facts as
to what procedural (as opposed to substantive) Due Process was
due and denied. That is, he must describe “the inadequacy of

the state-law procedures available to him in state post-

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conviction relief.” Osborne, 557 U.S. at 71 (2009). While
Fernandez may attach exhibits, they are not a substitute for
well pleaded allegation in the body of the Amended Complaint.
The Court will review any amended complaint, pursuant to 28
U.S.C. § 1915A, and also determine whether Fernandez has a
“reasonable opportunity to prevail on the merits” under 42
U.S.C. §1997e(g) (2).

III. Conclusion and Order

For the aforementioned reasons, it is hereby Ordered:

1. Fernandez shall by August 30, 2019, file an amended
complaint that cures the defects identified above. Failure to
comply with this Order will result in dismissal of this action.

2. Because Fernandez is proceeding pro se, the complaint
is to be amended, and Blodgett has waived a response in this
action, the Court finds good cause pursuant to Fed. R. Civ. P.
6(b) (1) (A) to extend the deadline for service until September
27, 2019. The Clerk shall issue a new summons, and provide the
summons and copy of the complaint to Fernandez who must serve
the summons and complaint in accordance Rule 4 of the Federal
Rules of Civil Procedure.

So Ordered.

/s/ Nathaniel M. Gorton
UNITED STATES DISTRICT JUDGE

 

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